Case 2:21-cv-01444 Document 1-1 Filed 10/22/21 Page 1 of 3




                 Exhibit
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                                                              10/22/21
                                                                 1     Page 2 of 3




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  Search Request: Builder = (Daniel¬AND¬Foster)[in¬Keyword¬Anywhere¬(GKEY)]¬AND¬("Industrial¬Stairs")
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                                                       A New Perspective.

                     Type of Work: Visual Material
      Registration Number / Date: VA0001905231 / 2013-12-31
                 Application Title: A New Perspective.
                             Title: A New Perspective.
                       Description: Electronic file (eService)
              Copyright Claimant: Daniel Foster. Address: 9004 Pink Pearl Court, Shreveport, LA, 71115, United
                                    States.
                  Date of Creation: 2013
               Date of Publication: 2013-10-09
       Nation of First Publication: United States
  Alternative Title on Application: Group registration of 32 photographs published from October 9, 2013 -
                                    December 27, 2013
       Authorship on Application: Daniel Foster; Citizenship: United States. Authorship: photograph(s)
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                   Copyright Note: Regarding publication: Range of dates: October 9, 2013 - December 27, 2013
                          Contents: A New Perspective.
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                                    Berlin Hauptbahnhof.
                                    Berlin Fall.
                                    Berlin Kanzleramt.
                                    Cargo Ship.
                                    Cargo Ship 2.
                                    Cargo Ship Loading.
                                    Erasmus Bridge.
                                    Industrial Stairs.
                                    Just Another Office Building.
                                    Natural Beauty.
                                    Natural Gas Fracking in Louisiana.
                                    Natural Gas Rig.
                                    Onward and Upward.
                                    Path on the Coast.
                                    Rotterdam Port.
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                                                                 1     Page 3 of 3
                                         Ship at Port.
                                         Ship at Port 2.
                                         Shipping Container Crane.
                                         Shipping Containers.
                                         Shipping Containers 2.
                                         Shipping Containers 3.
                                         Shipping Crane.
                                         Sushi.
                                         Train Bridge.
                                         University of Greenwich.
                                         Unloading a Ship.
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                                         West Coast.
                                         Wind Energy.
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